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 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                       SAN FRANCISCO DIVISION

11   SCOTT MCDONNELL, TABIELLA                            No. 3:18-cv-5811
     HOLSINGER, AND JAMES TRONKA,
12   individually and on behalf of all others similarly   CLASS ACTION COMPLAINT
     situated,
13
                                           Plaintiffs,    JURY TRIAL DEMANDED
14
              v.
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     FACEBOOK, INC., a Delaware corporation,
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                                          Defendant.
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 1            Plaintiffs Scott McDonnell, Tabell Holsinger, and James Tronka, individually and on behalf of

 2   other Americans similarly situated, allege as follows:

 3                                          I.      INTRODUCTION
 4            1.       Defendant Facebook, Inc. operates a hugely successful social network that is fueled by

 5   unfathomable amounts of its users’ personal information, including information as to their likes and

 6   dislikes of various goods, events, and opinions; their religious persuasion; and their political leanings.

 7   Though Facebook touts its network as free to use, it is anything but. Instead of money, its users

 8   exchange their information for access to and use of the network, which Facebook monetizes to the

 9   magnitude of billions of dollars in profit per year. That’s the consideration that users pay to use the

10   Facebook network.

11            2.       But there are conditions, and these are spelled out in Facebook’s user agreements and

12   privacy policies—policies which have in the past, and have now again, caught the eye of the Federal

13   Trade Commission.1

14            3.       Plaintiffs bring this suit because Facebook breached these agreements and policies by

15   permitting third parties to exploit its lax to non-existent enforcement practices. For a period in 2014,

16   Facebook stood idly by while an app developer, Aleksandr Kogan, sucked down the data portfolios of

17   70 million of its American users.2 Because of this inaction, the developer, via his English company,

18   Global Science Research Ltd. (GSR), was able to sell this treasure trove of data to yet another English
19
         1
           See, e.g., Louise Matsakis, The FTC is Officially Investigating Facebook’s Data Practices,
20   WIRED (Mar. 26, 2018), https://www.wired.com/story/ftc-facebook-data-privacy-investigation/.
21
         2
           According to Dr. Kogan, Facebook’s systems choked on the large volumes being transferred, and
     momentarily paused the process, but Facebook did nothing to stop it. Paris Martineau, Read the Full
22   Kogan Email: Researcher Says Facebook Is Scapegoating Him, THE OUTLINE (Mar. 22, 2018),
     https://theoutline.com/post/3838/read-the-full-kogan-email-researcher-says-facebook-is-scapegoat
23   ing-him (“If my memory is right, we hit the API rate limit, and once we paused collection for a minute,
     were able to continue.”).
24       Chris Wylie, a former Cambridge Analytical employee who broke this story widely, has testified
     to a U.K. parliamentary select committee that Dr. Kogan told him in about July 2014 that he talked to
25   Facebook engineers about the pause in collection, which would have placed Facebook on clear notice
     of what was occurring. See Natasha Lomas, Facebook data misuse scandal affects “substantially”
26   more than 50M, claims Wylie, TECHCRUNCH (Mar. 27, 2018), https://techcrunch.com/2018/03/27/face
     book-data-misuse-scandal-affects-substantially-more-than-50m-claims-wylie/ (“During the testimony
27   Wylie also suggested Facebook might have found out about the GSL [sic] data harvesting project as
     early as July 2014 — because he says Kogan told him, around that time, that he had spoken to Facebook
28   engineers after his app’s data collection rate had been throttled by the platform.”).

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 1   company, SCL Elections, that then transferred it to its affiliate, Cambridge Analytica. The aim was to

 2   create so-called psychographs of the targeted Americans so that they could be used to influence voting

 3   in various U.S. elections.

 4            4.       What’s more, Facebook made only the weakest attempts to prevent further access to

 5   this data. It merely asked these exploitative actors to certify that they’d destroyed the data.3 But this

 6   had the effect that could be expected: little to none. Reports indicate that some or all of this data is

 7   still extant, such that bad actors and foreigners bent on influencing our elections can still do what they

 8   will with it.

 9            5.       Plaintiffs bring this suit in order to find some measure of justice with respect to

10   Facebook’s behavior. A good deal of Facebook’s immense profits are due to its collection, storage,

11   and use of data acquired from Plaintiffs and members of the proposed class. Given its highly

12   consequential breach of its promised privacy protections, which were essential to its ability to procure

13   this data in the first place, Facebook should not be able to profit from: (a) sums it should have spent to

14   give effect to these protections; and (b) sums attributable to its business uses of this data, including for

15   advertising purposes. These sums should be turned over to the putative class, along with the other

16   damages requested in this complaint, and injunctive relief should issue to ensure that Facebook’s users

17   are not injured by similar shenanigans again. Also, Facebook should face the consequences for its

18   violation of the Stored Communications Act.
19                                             II.    JURISDICTION
20            6.       Pursuant to 28 U.S.C. § 1331, this Court has original subject matter jurisdiction over

21   the claims that arise under the Stored Communications Act, 18 U.S.C. §§ 2701, et. seq. Also, this

22   Court has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

23            7.       Additionally, or alternatively, this Court has subject matter jurisdiction over this matter

24   pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because the proposed class

25
         3
26         On Friday, April 6, 2018, Facebook finally admitted that it should have conducted an audit when
     it claims, despite evidence to the contrary, see supra n.2, that it first learned the data had been accessed
27   improperly. See, e.g., The Associated Press, Facebook says it should have audited Cambridge
     Analytica, ABC NEWS (Apr. 6, 2018), https://abcnews.go.com/Technology/wireStory/facebook-
28   audited-cambridge-analytica-54283797.

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 1   consists of 100 or more members; the amount in controversy exceeds $5,000,000, exclusive of costs

 2   and interest; and Plaintiffs are citizens of a state different from Defendant, which is a Delaware

 3   corporation with its principal place of business in California.

 4                                                 III.    VENUE
 5            8.       Venue is proper in this judicial district under 28 U.S.C. § 1391 because a substantial

 6   part of the events or omissions giving rise to Plaintiffs’ claims occurred in this judicial district.

 7   Furthermore, Facebook’s principal place of business is in this judicial district, and it is believed, and

 8   therefore alleged, that a substantial amount of the conduct of which Plaintiffs complain occurred in

 9   this judicial district. Also, Facebook has marketed, advertised, and done much business within this

10   judicial district. And Facebook’s venue provision in its Statement of Rights and Responsibilities also

11   provides for venue in this Court.4

12            9.       Additionally, the San Francisco division of this Court is the proper division for filing,

13   given Facebook’s headquarters in Menlo Park, California.

14                                                IV.     PARTIES
15   A.       Plaintiffs
16            1.       Connecticut Plaintiff
17            10.      Plaintiff Scott McDonnell is a citizen and a resident of the State of Connecticut.

18   Plaintiff McDonnell created his Facebook account approximately ten years ago. Plaintiff McDonnell
19   maintains his Facebook account to the present day. Plaintiff McDonnell has accessed his Facebook

20   account from a mobile phone and a personal computer. Plaintiff McDonnell has watched and “liked”

21   videos on Facebook and has also “liked” pages on Facebook that contain videos. Plaintiff McDonnell

22   also uses Facebook messenger and/or instant messaging through Facebook. Plaintiff McDonnell

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           Statement of Rights and Responsibilities, ¶ 15.1 (Disputes), FACEBOOK (revised Jan. 30, 2015),
25   https://www.facebook.com/terms.php (“Jan. 30, 2015 Statement of Rights and Responsibilities”)
     (“You will resolve any claim, cause of action or dispute (claim) you have with us arising out of or
26   relating to this Statement or Facebook exclusively in the U.S. District Court for the Northern District
     of California or a state court located in San Mateo County, and you agree to submit to the personal
27   jurisdiction of such courts for the purpose of litigating all such claims.”). The current Facebook terms
     also include such a provision. Terms of Service, ¶ 4.4 (Additional Provisions-Disputes), FACEBOOK
28   (revised Apr. 19, 2018), https://www.facebook.com/legal/terms/plain_text_terms.

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 1   shared content and information with Facebook, which he expected Facebook to protect and secure

 2   against access by or disclosure to unauthorized parties. In approximately April 2018, Plaintiff

 3   McDonnell received notice from Facebook that his Personal Information may have been “shared” with

 4   and “misused” by the “thisisyourdigitallife” app, because one of Plaintiff McDonnell’s Facebook

 5   friends downloaded the “thisisyourdigitallife” app. Plaintiff McDonnell was not aware of and did not

 6   consent to the sharing of his content and information with the “thisisyourdigitallife” app. Moreover,

 7   Plaintiff McDonnell did not consent to any third-parties accessing his content and information through

 8   his Facebook friends and had no knowledge that Facebook had authorized this disclosure of his content

 9   and information without his consent.

10            11.      During the 2016 U.S. Presidential election, Plaintiff McDonnell frequently received

11   political advertisements while using Facebook. On information and belief, Plaintiff McDonnell was

12   targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal. As a

13   result of the release of his content and information, Plaintiff McDonnell has suffered emotional

14   distress, including anxiety, concern, and unease about unauthorized parties viewing and using his

15   content and information for improper purposes, such as identity theft and fraud as well as further

16   intruding upon Plaintiff McDonnell’s private affairs and concerns, as detailed herein. Plaintiff

17   McDonnell fears that he is at risk of identity theft and fraud, and now spends approximately two hours

18   each month monitoring his credit, bank, and other account statements for evidence of identity theft and
19   fraud, and anticipates continuing to do so for the foreseeable future. Because of his heightened risk of

20   identity theft and fraud, Plaintiff McDonnell has purchased credit monitoring and identity theft

21   protection services, for which he pays approximately $40 per month, and anticipates continuing to pay

22   for such services for the foreseeable future

23            2.       Idaho Plaintiff
24            12.      Plaintiff Tabell Holsinger is a citizen and a resident of the State of Idaho. Plaintiff

25   Holsinger created her Facebook account approximately nine years ago. Plaintiff Holsinger maintains

26   her Facebook account to the present day. Plaintiff Holsinger has accessed her Facebook account from

27   a mobile phone. Plaintiff Holsinger has watched and “liked” videos on Facebook and has also “liked”

28   pages on Facebook that contain videos. Plaintiff Holsinger also uses Facebook messenger and/or

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 1   instant messaging through Facebook.          Plaintiff Holsinger shared content and information with

 2   Facebook, which she expected Facebook to protect and secure against access by or disclosure to

 3   unauthorized parties. Plaintiff Holsinger confirmed on Facebook that her content and information

 4   “was likely shared with” and may have been “misused” by the “thisisyourdigitallife” app, because one

 5   of Plaintiff Holsinger’s Facebook friends downloaded the “thisisyourdigitallife” app.              Plaintiff

 6   Holsinger was not aware of and did not consent to the sharing of her content and information with the

 7   “thisisyourdigitallife” app.     Moreover, Plaintiff Holsinger did not consent to any third-parties

 8   accessing her content and information through her Facebook friends and had no knowledge that

 9   Facebook had authorized this disclosure of her content and information without her consent.

10            13.      During the 2016 U.S. Presidential election, Plaintiff Holsinger frequently received

11   political advertisements while using Facebook. On information and belief, Plaintiff Holsinger was

12   targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal. As a

13   result of the release of her content and information, Plaintiff Holsinger has suffered emotional distress,

14   including anxiety, concern, and unease about unauthorized parties viewing and using her content and

15   information for improper purposes, such as identity theft and fraud as well as further intruding upon

16   Plaintiff Holsinger’s private affairs and concerns, as detailed herein. Plaintiff Holsinger fears that she

17   is at risk of identity theft and fraud, and now spends approximately four hours each month monitoring

18   her credit, bank, and other account statements for evidence of identity theft and fraud, and anticipates
19   continuing to do so for the foreseeable future.

20            3.       Pennsylvania Plaintiff
21            14.      Plaintiff James Tronka is a citizen and a resident of the State of Pennsylvania. Plaintiff

22   Tronka created his Facebook account approximately ten years ago. Plaintiff Tronka maintains his

23   Facebook account to the present day. Plaintiff Tronka has accessed his Facebook account from a

24   mobile phone. Plaintiff Tronka has watched and “liked” videos on Facebook and has also “liked” pages

25   on Facebook that contain videos. Plaintiff Tronka also uses Facebook messenger and/or instant

26   messaging through Facebook. Plaintiff Tronka shared content and information with Facebook, which

27   he expected Facebook to protect and secure against access by or disclosure to unauthorized parties.

28   Plaintiff Tronka confirmed on Facebook that his content and information that his content and

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 1   information may have been “shared” with and misused by the “thisisyourdigitallife” app, because one

 2   of Plaintiff Tronka’s Facebook friends downloaded the “thisisyourdigitallife” app. Plaintiff Tronka

 3   was not aware of and did not consent to the sharing of his content and information with the

 4   “thisisyourdigitallife” app. Moreover, Plaintiff Tronka did not consent to any third-parties accessing

 5   his content and information through his Facebook friends and had no knowledge that Facebook had

 6   authorized this disclosure of his content and information without his consent.

 7            15.      During the 2016 U.S. Presidential election, Plaintiff Tronka frequently received

 8   political advertisements while using Facebook. On information and belief, Plaintiff Tronka was

 9   targeted by some or all of these advertisements as a result of the Cambridge Analytica Scandal. As a

10   result of the release of his content and information, Plaintiff Tronka has suffered emotional distress,

11   including anxiety, concern, and unease about unauthorized parties viewing and using his content and

12   information for improper purposes, such as identity theft and fraud as well as further intruding upon

13   Plaintiff Tronka’s private affairs and concerns, as detailed herein. Plaintiff Tronka fears that he is at

14   risk of identity theft and fraud, and now spends approximately two to three hours each month

15   monitoring his credit, bank, and other account statements for evidence of identity theft and fraud, and

16   anticipates continuing to do so for the foreseeable future.

17   B.       Defendant
18            16.      Facebook is a Delaware corporation, with its headquarters and principal place of
19   business in Menlo Park, California.

20            17.      Facebook is the world’s most successful social media network, with approximately 214

21   million registered users in the United States alone.5

22            18.      It’s also a highly profitable enterprise, with a market cap of approximately $464 billion

23   as of today.6 It’s estimated that in 2017, Facebook’s net income totaled some $15.934 billion.7

24
          5
           Number of Facebook users by age in the U.S. as of January 2018 (in millions), STATISTA,
25   https://www.statista.com/statistics/398136/us-facebook-user-age-groups/ (last accessed Apr. 9, 2018).
         6
26         Facebook, Inc. (FB), YAHOO! FINANCE, https://finance.yahoo.com/quote/FB/ (last accessed Apr.
     9, 2018).
         7
27         Facebook Reports Fourth Quarter and Full Year 2017 Results, FACEBOOK (Jan. 31, 2018),
     https://investor.fb.com/investor-news/press-release-details/2018/Facebook-Reports-Fourth-Quarter-
28   and-Full-Year-2017-Results/default.aspx.

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 1            19.      Much of Facebook’s profit is based on user data, such as that which is the subject of

 2   this lawsuit.8

 3            20.      Facebook publishes various agreements and policies which set forth some of its duties

 4   with respect to the oceans of personal data that it collects from its users, including Plaintiffs and the

 5   proposed class.

 6                                     V.      FACTUAL ALLEGATIONS
 7            21.      Recent news reports are plentiful and distressing: in 2014, the personal information of

 8   some 70 million Americans9 was collected improperly from Facebook by a foreign company that sold

 9   it to yet another foreign company, all with the aim of influencing U.S. elections.10 This breach occurred

10   in broad daylight, thanks to the broad, improper access that Facebook had given to application

11   developers on its platform.

12            22.      As Facebook CEO Mark Zuckerberg admitted in the wake of these revelations:

13                     [I]t’s clear now that we didn’t do enough. We didn’t focus enough on
                       preventing abuse and thinking through how people could use these tools
14                     to do harm as well. That goes for fake news, foreign interference in
                       elections, hate speech, in addition to developers and data privacy. We
15                     didn’t take a broad enough view of what our responsibility is, and that
                       was a huge mistake. It was my mistake.[11]
16
              23.      While there is an implication in Mr. Zuckerberg’s comments that Facebook was as
17
     surprised as anyone by what had occurred, in fact this “huge mistake” was something Facebook should
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     have been laser-focused on preventing. In 2012, to avoid imminent legal action, Facebook entered
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     into a consent order with the FTC regarding its privacy policies and practices. The complaint that was
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           See, e.g., Sec. V.B, infra.
         9
           Initial reports pegged the number at about 50 million. See, e.g., Matthew Rosenberg et al., How
24   Trump Consultants Exploited the Facebook Data of Millions, THE NEW YORK TIMES (Mar. 17, 2018)
     https://www.nytimes.com/2018/03/17/us/politics/cambridge-analytica-trump-campaign.html.
25       10
            See, e.g., Carole Cadwalladr, ‘I made Steve Bannon’s psychological warfare tool’: meet the data
26   war whistleblower, THE GUARDIAN (Mar. 18, 2018), https://www.theguardian.com/news/2018/mar/
     17/data-war-whistleblower-christopher-wylie-faceook-nix-bannon-trump; Rosenberg et al., supra n.9.
27       11
            Hard Questions: Q&A with Mark Zuckerberg on Protecting People’s Information, FACEBOOK
     (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/hard-questions-protecting-peoples-informat
28   ion/.

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 1   put on hold specifically referenced app-developer access to Facebook friends’ data.12 But as these

 2   events demonstrate, Facebook failed to take serious heed.

 3   A.        Facebook’s collection of massive amounts of personal information from its users
 4             24.          The price of entry to Facebook’s social network is personal information.13 Facebook

 5   collects so much information that a few years ago, its U.S. storage facilities were set up to maintain

 6   multiple exabytes14 of data,15 which included that of its then nearly 200 million U.S. users.16

 7   B.        Facebook’s monetization of the data it collects from users
 8             25.     Facebook is by no means an eleemosynary enterprise, whatever the company rhetoric

 9   about enabling connections among its members.

10             1.      The making of an advertising giant through greater leveraging of user data
11             26.     Facebook’s practice of making users’ data widely and too-easily available to

12   application developers and websites was not by accident or oversight. It was a clear and deliberate

13   business strategy designed to increase its revenues and market power. This plan was wildly successful

14   and created huge incentives for Facebook to ignore or even encourage abuses of users’ data.

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19          FTC Complaint at 3, 10-11, In the Matter of Facebook, Inc., FTC Dkt. No. C-4365 (July 27,
     2012), available at https://www.ftc.gov/sites/default/files/documents/cases/2012/08/120810facebook
20   cmpt.pdf.
         13
            See, e.g., Data Use Policy § I (“Information we receive and how it is used”), FACEBOOK (revised
21   Nov. 15, 2013), available at https://web.archive.org/web/20141231072722/https://www.facebook
     .com/full_data_use_policy (archived Dec. 31, 2014) (data use policy in place in 2014, detailing, inter
22   alia, information that is “required when you sign up for the site, as well as the information you choose
     to share”) (“Nov. 15, 2013 Data Use Policy”).
23       14
            “An Exabyte is approximately 1,000 Petabytes. Another way to look at it is that an Exabyte is
     approximately one quintillion bytes or one billion Gigabytes. There is not much to compare
24   an Exabyte to. It has been said that 5 Exabytes would be equal to all of the words ever spoken by
     mankind.”         Megabytes, Gigabytes, Terabytes… What Are They?, WHAT’S A BYTE,
25   http://www.whatsabyte.com (last accessed Apr. 8, 2018).
26
         15
            See, e.g., Krish Bandaru et al., Under the hood: Facebook’s cold storage system, FACEBOOK
     (May 4, 2015), https://code.facebook.com/posts/1433093613662262/-under-the-hood-facebook-s-
27   cold-storage-system-/.
         16
            In 2015, there were approximately 192 million U.S. Facebook users; the number is expected to
28   rise to some 207 million U.S. users this year.

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 1            27.      As The Economist magazine noted in 2017, “The world’s most valuable resource is no

 2   longer oil, but data.”17

 3            28.      While today, targeted digital advertising is increasingly a duopoly between corporate

 4   behemoths Google and Facebook, in 2010, Facebook was exceedingly small by comparison, and at a

 5   significant disadvantage to Google in terms of collecting data about Internet users. So Facebook

 6   developed a business strategy to change that and dramatically grow its business and revenues.

 7            29.      Facebook had long recognized the need to engage with external developers of

 8   applications and websites, in order to encourage the development of more compelling and engaging

 9   apps that would increase the amount of time that users spent on the Facebook platform. In 2010,

10   Facebook took dramatic steps to increase that level of engagement.

11            30.      At its 2010 developer conference in San Francisco (known as “F8”), Mr. Zuckerberg

12   announced the “Open Graph.”18

13            31.      While in 2010, Facebook had 400 million users and a great deal of data about those

14   users from their activities on Facebook, it lacked a way to effectively gather data about those and other

15   people from around other places on the Internet.

16            32.      Mr. Zuckerberg’s keynote at that 2010 conference laid out the strategy to solve this

17   problem:

18                             We think that what we have to show you today will be the most
                       transformative thing we’ve ever done for the web. There are a few key
19                     themes that we are going to be talking about today. The first is the Open
                       Graph that we’re all building together. Today, the web exists mostly as
20                     a series of unstructured links between pages, and this has been a
                       powerful model, but it’s really just the start. The Open Graph puts
21                     people at the center of the web. It means the web can become a set of
                       personally and semantically meaningful connections between people
22                     and things. I am FRIENDS with you. I am ATTENDING this event. I
                       LIKE this band. These connections aren’t just happening on Facebook,
23                     they’re happening all over the web, and today, with the Open Graph,
                       we’re going to bring all of these together.
24

25       17
            The world’s most valuable resource is no longer oil, but data, THE ECONOMIST (May 6, 2017),
26   https://www.economist.com/news/leaders/21721656-data-economy-demands-new-approach-
     antitrust-rules-worlds-most-valuable-resource.
         18
27           Caroline McCarthy, Facebook F8: One graph to rule them all, CNET (Apr. 21, 2010),
     https://www.cnet.com/news/facebook-f8-one-graph-to-rule-them-all/. This is the Graph API v1.0
28   referenced below. (See ¶¶ 61–62, infra.)

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 1                                                       ***

 2                              At our first F8, I introduced the concept of the Social Graph. The
                       idea that if you mapped out all of the connections between people and
 3                     things in the world it would form this massive interconnected graph that
                       just shows how everyone is connected together. Now Facebook is
 4                     actually only mapping out a part of this graph, mostly the part around
                       people and the relationships that they have. You guys [developers] are
 5                     mapping out other really important of the graph. For example, I know
                       Yelp is here today. Yelp is mapping out the part of the graph that relates
 6                     to small businesses. Pandora is mapping out the part of the graph that
                       relates to music. And a lot of news sites are mapping out the part of the
 7                     graph that relates to current events and news content. If we can take
                       these separate maps of the graph and pull them all together, then we can
 8                     create a web that is more social, personalized, smarter, and semantically
                       aware. That’s what we’re going to focus on today.[19]
 9
              33.      To execute on this strategy, Facebook introduced the Open Graph API (or “Application
10
     Programming Interface”), a way for application and website developers to access information from
11
     Facebook about users and their Facebook friends in exchange for sending back to Facebook data that
12
     they might gather about those users from their websites and applications. This was valuable for
13
     developers, and valuable for Facebook, but undertaken on the backs of their users.
14
              34.      The incentives for Facebook were clear. More developers and websites using the
15
     Facebook Platform meant more user engagement with Facebook, and, with the introduction of the
16
     Open Graph API, much more data for Facebook to use to enhance and hone its user profiles and to
17
     better target advertising. And the immediate impact was dramatic: “We expect that in the first 24
18
     hours alone we’re going to serve one billion ‘like’ buttons on the Web,” Mr. Zuckerberg said.
19
              35.      In its zeal to use its users as bait to attract developers, Facebook also made it much
20
     easier for those developers to abuse the data it was getting from Facebook.
21
              36.      As Mr. Zuckerberg also announced at the 2010 F8 conference:
22
                       We’ve had this policy where you can’t store or cache data for any longer
23                     than 24 hours, and we’re going to go ahead and get rid of that policy.
                       So now, if a person comes to your site, and a person gives you
24                     permission to access their information, you can store it. No more having
                       to make the same API calls day-after-day. No more needing to build
25                     different code paths just to handle information that Facebook users are

26

27
         19
             Jon Thralow, Mark Zuckerberg keynote at f8 2010, YOUTUBE (May 24, 2010),
28   https://www.youtube.com/watch?v=4SOcRKINiSM (transcription).

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 1                     sharing with you. We think that this step is going to make building with
                       Facebook Platform a lot simpler.[20]
 2
              37.      Developers would now be able to store vast quantities of data they obtained from
 3
     Facebook. Not surprisingly, some of those developers found other ways to use and monetize that data
 4
     themselves.
 5
              38.      Unfortunately for its users, Facebook had every incentive to ignore any violations of
 6
     “terms of service” by developers. More developers meant more users, more user engagement, and
 7
     more data for Facebook. Addressing or policing violations was not in its financial interest as its
 8
     advertising revenues skyrocketed. Instead, Facebook made it easier for developers to commit exactly
 9
     the kinds of abuses and violations that have been revealed.
10
              39.      This strategy was extremely successful. Facebook has profited handsomely from its
11
     practices. It has gone from a small player in 2010 to a duopolist in online advertising today. Facebook
12
     enabled, ignored, or intentionally did not police the exploitation of user data by developers because it
13
     worked to its interest to do so.21
14
              2.       The relentless push for greater profitability from user data
15
              40.      In 2014, the year in which the subject data was improperly accessed and collected,
16
     Facebook’s net income was $2.94 billion.22
17
              41.      Most of this income is derived from advertising. In Q4 2014, for example, “[r]evenue
18
     from advertising was $3.59 billion, a 53% increase from the same quarter [in 2013].”23
19
              42.      Facebook has become such a dominant force in advertising because it knows so much
20
     about its users. As the website Investopedia summarizes:
21
                               Advertisers can use the wealth of personal data about users from
22                     Facebook’s product ecosystem for ads. For its part, the Menlo Park,
                       Calif.-based company claims that it makes the data anonymous and
23                     serves the information to advertisers in custom demographic buckets.

24
         20
            Id.
25       21
            Mathew Ingram, How Google and Facebook Have Taken Over the Digital Ad Industry, FORTUNE
     (Jan. 4, 2017), http://fortune.com/2017/01/04/google-facebook-ad-industry/.
26       22
            Facebook Reports Fourth Quarter and Full Year 2014 Results, FACEBOOK (Jan. 28, 2015),
27   https://investor.fb.com/investor-news/press-release-details/2015/Facebook-Reports-Fourth-Quarter-
     and-Full-Year-2014-Results/default.aspx.
         23
28          Id.

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 1                     Advertisers can further slice and dice the buckets based on their
                       branding goals. . . .
 2
                                For example, advertisers can serve up custom ads to Facebook
 3                     users from specific income groups or regions. They can also target users
                       based on other categories, such as sexual orientation, religion or political
 4                     affiliation. Facebook has developed a broad variety of ad products for
                       different stages of the branding lifecycle.
 5
                               For example, Facebook’s Dynamic Ads product enables
 6                     advertisers to upload their entire product catalog and target customers at
                       specific income levels. Similarly, its Lead Ads offering help advertisers
 7                     in lead generation. These products have cemented Facebook’s position
                       in digital ads.[24]
 8
              43.      Also, in 2014, Facebook was enthusiastically endeavoring to make even more money
 9
     off of its users’ data.25 One initiative helped to strengthen its exclusive control over this data,26 while
10
     a second, the Audience Network, enabled it to monetize that data by the sale of targeting to advertisers
11
     in places (third-party mobile sites) other than its own website or mobile app.27
12
              44.      And by this time, Facebook had begun sharing data with outside data brokers, too, in
13
     an effort to help them target specific categories of its users by permitting them to mate Facebook user
14
     data with information they had gathered elsewhere.28 Facebook benefited when advertisers bought ads
15
     targeted to its users. And while Facebook has announced in the last few days that it will stop sharing
16
     data with these outside brokers, some surmise that it is doing so largely because it no longer needs
17
     their data to complement its own for purposes of directed advertising.29
18
19
         24
             Rakesh Sharma, How Does Facebook Make Money?, INVESTOPEDIA (Dec. 11, 2017)
20   https://www.investopedia.com/ask/answers/120114/how-does-facebook-fb-make-money.asp.
         25
            See, e.g., Parmy Olson, Facebook Moves to Become the World’s Most Powerful Data Broker,
21   FORBES (Apr. 30, 2014), https://www.forbes.com/sites/parmyolson/2014/04/30/facebok-moves-to-
     become-the-worlds-most-powerful-data-broker/#3433cc342006; see also Peter Kafka, Facebook Will
22   Use Facebook Data to Sell Ads on Sites That Aren’t Facebook, RECODE (Sept. 28, 2014),
     https://www.recode.net/2014/9/28/11631346/facebook-will-facebook-data-to-sell-ads-on-sites-that-
23   arent-facebook.
         26
            See id.
24       27
            Introducing Facebook’s Audience Network, FACEBOOK (Apr. 30, 2014), https://www.facebook
25   .com/business/help/788333711222886.
         28
            See, e.g., Ingrid Lundun, Facebook Launches Partner Categories, 500+ Generic Profiles To
26   Target Ads Better, With Data From Datalogix, Epsilon, Acxiom, TECHCRUNCH (Apr. 10, 2013),
     https://techcrunch.com/2013/04/10/facebook-launches-partner-categories-500-profiles-to-target-ads-
27   better-on-mobile-and-desktop-using-data-from-datalogix-epsilon-and-axciom/.
         29
            See, e.g., Drew Harwell, Facebook, longtime friend of data brokers, becomes their stiffest
28   competition, THE WASHINGTON POST (Mar. 29, 2018), https://www.washingtonpost.com/news/the-

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 1   C.       Facebook’s agreements and policies applicable to user data
 2            45.      In 2014, Facebook maintained contracts and policies that applied to user data. Among

 3   these were its Statement of Rights and Responsibilities and its Data Use Policy.30 Facebook also

 4   maintained a Platform Policy applicable to developers, which included terms meant for the protection

 5   of users.31

 6            46.      While each of these documents contemplated the sharing of user data with app

 7   developers, each contemplated sharing only under very limited circumstances, and for very limited

 8   purposes. They did not contemplate the sort of gathering and transferring engaged in by GSR/Kogan,

 9   which Facebook should have prevented.

10            47.      First, per the Statement of Rights and Responsibilities, Facebook promised as follows:

11                     You own all of the content and information you post on Facebook, and
                       you can control how it is shared through your privacy and application
12                     settings.

13                                                      ***

14                     When you use an application, the application may ask for your
                       permission to access your content and information as well as content and
15                     information that others have shared with you. We require applications
                       to respect your privacy, and your agreement with that application will
16                     control how the application can use, store, and transfer that content and
                       information.[32]
17
              48.      As to the former provision, however, Facebook failed to provide such a control.
18
     Instead, it provided a difficult-to-find setting box advising only that “People on Facebook who can see
19
     your info can bring it with them when they use apps. This makes their experience better and more
20
     social. Use the settings below to control the categories of information that people can bring with them
21

22   switch/wp/2018/03/29/facebook-longtime-friend-of-data-brokers-becomes-their-stiffest-competition/
     ?utm_term=.5c74ccd99ad6.
23       30
             Statement of Rights and Responsibilities, FACEBOOK (revised Nov. 13, 2015), available at
     https://web.archive.org/web/20150108090947/https://www.facebook.com/terms.php (archived Jan. 8,
24   2015) (“Nov. 13, 2015 Statement of Rights and Responsibilities”); Nov. 15, 2013 Data Use Policy,
     supra n.13.
25       31
            See, e.g., Platform Policy, FACEBOOK (2014), available at https://web.archive.org/web/20140626
26   132443/https://developers.facebook.com/policy (archived June 26, 2014).
         32
            Nov. 13, 2015 Statement of Rights and Responsibilities, supra n.30 (emphasis added). The
27   terms also contain several provisions applicable to developers that plainly are meant to inure to the
     benefit of users. They include prohibitions on transferring or selling user data to third-parties such as
28   Cambridge Analytica or SCL, see id., but again, Facebook did not enforce these.

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 1   when they use apps, games and websites.”33 This box said nothing about the collection and storage of

 2   data, and certainly nothing about its transfer to others beyond the app developer, nor did it allow the

 3   prevention of these occurrences, despite Facebook’s pledge.

 4            49.      As to the latter provision, Facebook did nothing to require Kogan/GSR to respect its

 5   app users’ privacy, despite its promise. For example, even after detecting that Kogan/GSR was

 6   collecting such massive amounts of data for a personality-test app, Facebook did not require the

 7   developer to respect users’ privacy by ceasing the collection.

 8            50.      Second, per the Data Use Policy, Facebook represented and promised as follows:

 9                             Your friend list [in connection with application use] helps the
                       application make your experience more social because it lets you find
10                     your friends on that application. Your User ID helps the application
                       personalize your experience because it can connect your account on that
11                     application with your Facebook account, and it can access your basic
                       info, which includes your public information and friend list. This
12                     includes the information you choose to make public, as well as
                       information that is always publicly available. If the application needs
13                     additional information, such as your stories, photos or likes, it will have
                       to ask you for specific permission.
14
                                                         ***
15
                              Your friends and the other people you share information with
16                     often want to share your information with applications to make their
                       experiences on those applications more personalized and social. For
17                     example, one of your friends might want to use a music application that
                       allows them to see what their friends are listening to. To get the full
18                     benefit of that application, your friend would want to give the
                       application her friend list – which includes your User ID – so the
19                     application knows which of her friends is also using it. Your friend
                       might also want to share the music you “like” on Facebook. If you have
20                     made that information public, then the application can access it just like
                       anyone else. But if you’ve shared your likes with just your friends, the
21                     application could ask your friend for permission to share them.

22                                                       ***

23                               If an application asks permission from someone else to access
                       your information, the application will be allowed to use that information
24                     only in connection with the person that gave the permission, and no one
                       else.[34]
25

26       33
            See Graham Cluley, How to stop your friends’ Facebook apps from accessing *your* private
27   information, SOPHOS (Apr. 3, 2013), https://nakedsecurity.sophos.com/2013/04/03/how-to-stop-your-
     friends-facebook-apps-from-accessing-your-private-information/ (emphasis added).
         34
28          Nov. 15, 2013 Data Use Policy, supra n.13 (emphasis added).

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 1             51.     In fact, however, Facebook did not restrict the use of friend lists to situations where

 2   they would allow a user to find a friend, nor did it actually restrict app developers from asking for

 3   more data than was needed for their apps to work. Further, it did not actually enforce the promise that

 4   app developers could access data “to make the [user’s] experiences on those applications more

 5   personalized and social.”35 Nor did it actually restrict the information to uses “in connection with the

 6   person that gave the permission, and no one else.”36

 7             52.     Third, as for Facebook’s Platform Policy, which is linked from its Terms, it also

 8   contained provisions directed to developers that told developers not to transfer or sell data as

 9   Kogan/GSR did here.37 It also told them only to use the data “in the person’s experience in [the

10   developer’s] app.” Again, however, Facebook did not enforce these provisions,38 which were designed

11   for its users’ benefit and part of the privacy protections they expected contractually.

12   D.        The Kogan/GSR-Cambridge Analytica breach
13             53.     On March 17, 2018, The New York Times published an article entitled, “How Trump

14   Consultants Exploited the Facebook Data of Millions.”39 The following day, The Guardian published

15   a story entitled, “‘I made Steve Bannon’s psychological warfare tool’: meet the data war

16   whistleblower.”40 Both articles addressed the data breach that is the subject of this lawsuit.

17             54.     In 2013, a major paper on the process of quantifying personality was published. Two

18   Cambridge University psychologists, one of whom was Michael Kosinski, were the experts in this new
19   field. Dr. Kosinski’s co-researcher, David Stillwell, had written Facebook apps years previously, and

20   one called “myPersonality” became very popular. Mr. Stillwell (not yet a doctor) discovered that 40%

21

22        35
            Id.
          36
23          Id.
         37
            Platform Policy § 3 (Protect Data), Nos. 1, 9-10, FACEBOOK (2014), available at https://web
24   .archive.org/web/20141230035918/https://developers.facebook.com/policy/ (archived Dec. 30, 2014).
         38
            Now after the horses are long gone from the barn, Facebook acknowledges that Dr. Kogan
25   breached the Platform Policy. Paul Grewal, Suspending Cambridge Analytica and SCL Group from
     Facebook, FACEBOOK (Mar. 16, 2018), https://newsroom.fb.com/news/2018/03/suspending-cam
26   bridge-analytica/. But so did Facebook vis-a-vis Plaintiffs and the proposed class, by doing nothing
     to enforce it.
27       39
            Rosenberg et al., supra n.9.
         40
28          Cadwalladr, supra n.10.

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 1   of these users had given him access to their Facebook profiles. “Suddenly, there was a way of

 2   measuring personality traits across the population and correlating scores against Facebook ‘likes’

 3   across millions of people.”41

 4            55.      That same year, Christopher Wylie, a young, Canadian Ph.D. student, could not shake

 5   the political bug. The previous year he’d worked for the Liberal Democrats in the U.K. Following

 6   publication of the 2013 paper, he, among others, saw the potential in the research. About this time he

 7   was wondering why the Liberal Democrats couldn’t seem to win elections. Impressed with the

 8   research paper, he pitched the party with a new way to identify potential new voters based on the

 9   proposition that “personality traits could be a precursor to political behaviour.” But the party wasn’t

10   interested.42

11            56.      Then a party connection introduced Mr. Wylie to a company called SCL Group. One

12   of its subsidiaries was SCL Elections, which would go on to create Cambridge Analytica. Cambridge

13   Analytica would go on to be funded by Robert Mercer, the American hard-right billionaire.43

14   Alexander Nix, then CEO of SCL Elections, offered Mr. Wylie a job. Lured by the promise of

15   intellectual freedom and experimentation, Mr. Wylie took the job. A few months later, still in 2013,

16   Mr. Wylie met Steve Bannon, who was in the U.K. to support Brexiter Nigel Farage. Someone had

17   turned Mr. Bannon on to the notion that SCL could help conduct “‘cyberwarfare for elections.’”44

18            57.      Sometime thereafter, Mr. Bannon and Mr. Wylie flew to New York to meet with
19   Mr. Mercer and his daughter, Rebekah, in Manhattan. Mr. Mercer listened as Mr. Wylie explained a

20   2014 paper called “‘Computer-based personality judgments are more accurate than those made by

21   humans.’”45

22            58.      Mr. Mercer was interested for political purposes, but they’d need data.        After

23   negotiating with Dr. Kosinski toward using his data, the parties hit an impasse. Then one of

24

25
         41
            Id.
26       42
            Id.
         43
            Id.
27       44
            Id.
         45
28          Id.

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 1   Dr. Kosinski’s colleagues, Dr. Kogan, stated that he could replicate the Kosinski-Stillwell research.46

 2   Though Mr. Wylie ran with the idea, the notion of replicating the Kosinski work evidently was

 3   suggested by an employee of Palantir Technologies, which was co-founded by Peter Thiel, another

 4   American billionaire. (Palantir itself denies any involvement with this matter.)47

 5            59.      By June 14, 2014, Dr. Kogan had formed his company, Global Science Research Ltd.,

 6   and signed an agreement with Cambridge Analytica’s affiliate, SCL Elections Limited.48 It called for

 7   Dr. Kogan to gather millions of Facebook records via a Facebook app he created.49 The contract

 8   provided in part:

 9                     GS grants to SCL a non-transferable, non-sublicensable, non-assignable,
                       non-exclusive and limited subscription license (“License”) to use GS’s
10                     online data harvesting and psychological profiling technology (“GS
                       Technology”) and to access psychological scores created by GS’s
11                     underlying harvested datasets and algorithms (“GS Profiled Data”) to
                       further enhance or augment its political modeling of the population in
12                     eleven states within the Territory unless a future superseding agreement
                       can be reached.[50]
13
              60.      As for Dr. Kogan’s app, Facebook has suggested (though it does not state) that it was
14
     duped into allowing access and collection of the data at issue by an academic whose app seemed to
15
     suggest scholastic purposes.51 Dr. Kogan denies even the suggestion. He claims that initially his app
16
     was for academic research, but that he re-purposed it for commercial use with Facebook.52 Facebook
17
     seems to admit as much, though it strays too far afield in stating that “Kogan gained access to this
18
     information in a legitimate way and through the proper channels that governed all developers on
19

20

21

22
         46
           Id.
23       47
            Nicholas Confessore et al., Spy Contractor’s Idea Helped Cambridge Analytica Harvest
24   Facebook Data, THE NEW YORK TIMES (Mar. 27, 2018), https://www.nytimes.com/
     2018/03/27/us/cambridge-analytica-palantir.html.
        48
25         See Exhibit A (copy of contract).
        49
           See id. at 11-12; see also Martineau, supra n.2 (discussing app).
26      50
           Exhibit A at 3; see also id. at 15-16 (listing Arkansas, Colorado, Florida, Iowa, Louisiana,
     Nevada, New Hampshire, North Carolina, Oregon, South Carolina, and West Virginia as the 11 states).
27      51
           Grewal, supra n.38 (claiming lies on the part of Kogan).
        52
28         Martineau, supra n.2.

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 1   Facebook at that time . . . .”53 To Plaintiffs and the proposed class, there was nothing legitimate about

 2   it.

 3              61.    In fact, Kogan/GSR consciously exploited another avenue left open by Facebook. By

 4   the time GSR entered into its contract with SCL Elections, under which SCL would pay approximately

 5   $800,000 for the data at issue,54 Facebook had decided to deprecate its then-current Graph API v1.0—

 6   the API for its platform—in favor of the new Graph API v2.0, which would shut down the access to

 7   extensive Facebook friends’ data on the part of its app developers.55 But it grandfathered apps such as

 8   Dr. Kogan’s for a year,56 which he well knew.57

 9              62.    As for what was collectable from Facebook friends by Dr. Kogan’s app, the following

10   lists set forth the permissions/profile items available under Graph API v.1.0:

11                     “Extended Profile Properties” Permissions:

12                             friends_about_me
13                             friends_actions
                               friends_activities
14                             friends_birthday
                               friends_checkins
15                             friends_education_history
16                             friends_events
           53
17          Grewal, supra n.38 (emphasis added). Though Facebook seems to suggest angrily in this blog
     post that it was a victim, too, interestingly, it actually employs one of the signers of the SCL Elections-
18   GSR contract, Joseph Chancellor, who signed as Co-Director, GSR. Compare Exhibit A at 12, with
     Donie O’Sullivan, Facebook investigating employee’s links to Cambridge Analytica, CNN (Mar. 18,
19   2018), http://money.cnn.com/2018/03/18/technology/business/facebook-cambridge-analytica/index.
     html.
20       54
            Dr. Kogan claims that he didn’t profit from these payments. Rather, he says, he spent the money
     on paying $3-4 to survey participants. He says that rather than money, he wanted to “get a data set
21   that then [he] could do research on.” Kaleigh Rogers, The Researcher Who Gave Cambridge Analytica
     Facebook Data on 50 Million Americans Thought It Was ‘Totally Normal’, MOTHERBOARD (Mar. 21,
22   2018), https://motherboard.vice.com/en_us/article/ywxgeg/cambridge-analytica-researcher-interview.
     Of course, the tens of millions of Facebook friends whose data was harvested received none of this
23   money.
         55
            Josh Constine et al., Everything Facebook Launched At F8 And Why, TECHCRUNCH (May 2,
24   2014), https://beta.techcrunch.com/2014/05/02/f8/?_ga=2.191731562.1918755815.1523019427-161
     3317869.1523019427.
25       56
            Josh Constine, Facebook Is Shutting Down Its API For Giving Your Friends’ Data To Apps,
26   TECHCRUCH (Apr. 28, 2018), https://techcrunch.com/2015/04/28/facebook-api-shut-down/.
         57
            See, e.g., Exhibit A at 15 (“GS’s method [of accessing Facebook data] relies on a pre-existing
27   application functioning under Facebook’s old terms of service. New applications are not able to access
     friend networks and no other psychometric profiling applications exist under the old Facebook
28   terms.”).

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 1                             friends_games_activity
                               friends_groups
 2                             friends_hometown
 3                             friends_interests
                               friends_likes
 4                             friends_location
                               friends_notes
 5
                               friends_online_presence
 6                             friends_photo_video_tags
                               friends_photos
 7                             friends_questions
                               friends_relationship_details
 8
                               friends_relationships
 9                             friends_religion_politics
                               friends_status
10                             friends_subscriptions
11                             friends_website
                               friends_work_history
12
                       “App friends” Profile Items:
13
                               bio
14
                               birthday
15                             education
                               first_name
16                             last_name
                               gender
17
                               interested_in
18                             languages
                               location
19                             political
20                             relationship_status
                               religion
21                             quotes
                               website
22                             work
23
     Presently, Plaintiffs are unaware of exactly which of these categories of data Kogan/GSR sought to
24
     and did collect, but they expect to learn through discovery.
25

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 1   E.         Mission accomplished and aftermath
 2              63.     As all of the key actors acknowledge, retrieval and transfer of tens of millions of

 3   Facebook records occurred as planned.58 Evidently, GSR used two initial mechanisms, Mechanical

 4   Turk and Qualtrics, to start the survey process; then it asked participants to download its Facebook

 5   app, after which the retrieval of friend records began.59 Thereafter, the data was transmitted to

 6   Cambridge Analytica.60 Following revelation of these facts, Facebook released a tool to allow users

 7   to learn if their “information [might] have been shared with Cambridge Analytica by the app ‘This Is

 8   Your Digital Life.’”61 It also advised that “[a] small number of people who logged into ‘This Is Your

 9   Digital Life’ also shared their own News Feed, timeline, posts and messages which may have included

10   posts and messages from [users]. They may also have shared [users’] hometown.”62

11              64.     There’s a dispute as to how this data was used. As The New York Times has reported:

12                      Cambridge executives have offered conflicting accounts about the use
                        of psychographic data on the [2016 Trump] campaign. Mr. Nix has said
13                      that the firm’s profiles helped shape Mr. Trump’s strategy – statements
                        disputed by other campaign officials – but also that Cambridge did not
14                      have enough time to comprehensively model Trump voters.[63]

15

16

17        58
            See, e.g., Mike Schroepfer, An Update on Our Plans to Restrict Data Access on Facebook,
     FACEBOOK (Apr. 4, 2018), https://newsroom.fb.com/news/2018/04/restricting-data-access/ (“In total,
18   we believe the Facebook information of up to 87 million people – mostly in the US – may have been
     improperly shared with Cambridge Analytica.”). The accompanying graphic puts the U.S. number at
19   approximately 70 million as of April 4, 2018. Id. Cambridge Analytica, however, responded to this
     update by reiterating that it purportedly “licensed data for no more than 30 million people from GSR,
20   as is clearly stated in our contract with the research company.” CA responds to announcement that
     GSR dataset potentially contained 87 million records, CAMBRIDGE ANALYTICA (Apr. 4, 2018),
21   https://ca-commercial.com/news/ca-responds-announcement-gsr-dataset-potentially-contained-87-
     million-records. But regardless of this particular discrepancy, the key figure is Facebook’s current
22   estimate.
         59
            See Cale Guthrie Weissman, How Amazon Helped Cambridge Analytica Harvest Americans’
23   Facebook Data, FAST COMPANY (Mar. 27, 2018), https://www.fastcompany.com/40548348/how-
     amazon-helped-cambridge-analytica-harvest-americans-facebook-data.
24       60
            CAMBRIDGE ANALYTICA, supra n.58.
         61
25          Tim Collins & Cheyenne MacDonald, Cambridge Analytica may have accessed your private
     Facebook MESSAGES: Here’s how to see if your details were compromised, DAILY MAIL (Apr. 11,
26   2018),        http:/www.dailymail.co.uk/sciencetech/article-5602619/Cambridge-Analytica-accessed-
     PRIVATE-Facebook-messages.html.
27        62
               Id.
          63
28             Rosenberg et al., supra n.9.

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 1            65.      It’s also not known definitively if Cambridge Analytica has retained a copy of all or

 2   portions of the user data it received. Cambridge Analytica says it destroyed the data,64 but Facebook

 3   questions this.65

 4            66.      In any event, it’s plain that at least some of this data has not been destroyed,66 such that

 5   it’s potentially available to malefactors. The damage is done. And certainly it was preventable, had

 6   Facebook only lived up to its agreements, policies, and duties as to user data.67

 7                                        VI.     CLASS ALLEGATIONS
 8            67.      Plaintiffs bring this action pursuant to the provisions of Fed. R. Civ. P. 23(a), (b)(2),

 9   and (b)(3), on behalf of themselves and the following proposed class:

10                     All U.S. Facebook users whose Facebook data: (a) was accessed and
                       collected by Aleksandr Kogan and his company GSR by way of, or in
11                     connection with, a Facebook app called “thisisyourdigitallife” (or
                       “thisismydigitallife”); and (b) transmitted to a third-party, including but
12                     not limited to SCL Elections Limited or Cambridge Analytica, whether
                       in exchange for payment to Kogan or GSR, or otherwise.
13
              68.      Excluded from the proposed class are Facebook, its employees, officers, directors, legal
14
     representatives, heirs, successors, subsidiaries and affiliates, and the judicial officers and their
15
     immediate family members and associated court staff assigned to this case, as well as all persons who
16
     make a timely election to be excluded from the proposed class.
17
              69.      Certification of Plaintiffs’ claims for classwide treatment is appropriate because
18
     Plaintiffs can prove the elements of their claims on a classwide basis using the same evidence as would
19
     be used to prove those elements in individual actions alleging the same claims.
20

21
         64
            Message from acting CEO Dr. Alexander Tayler, CAMBRIDGE ANALYTICA (Mar. 23, 2018),
22   https://ca-commercial.com/news/message-acting-ceo-dr-alexander-tayler.
         65
            Grewal, supra n.38.
23       66
            See, e.g., Revealed: Cambridge Analytica data on thousands of Facebook users still not deleted,
24   CHANNEL 4 NEWS (Mar. 28, 2018), https://www.channel4.com/news/revealed-cambridge-analytica-
     data-on-thousands-of-facebook-users-still-not-deleted.
25       67
            See Paul Lewis, ‘Utterly horrifying’: ex-Facebook insider says cover data harvesting was
     routine, THE GUARDIAN (Mar. 20, 2018), https://www.theguardian.com/news/2018/mar/20/facebook-
26   data-cambridge-analytica-sandy-parakilas. As the article recounts, Sandy Parakilas, “the platform
     operations manager at Facebook responsible for policing data breaches by third-party software
27   developers between 2011 and 2012, . . . said Facebook had terms of service and settings that ‘people
     didn’t read or understand,’ and the company did not use its enforcement mechanisms, including audits
28   of external developers, to ensure data was not being misused.” Id.

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 1             70.     This action meets all applicable standards of Fed. R. Civ. P. 23 for class certification.

 2   More specifically, Plaintiffs can demonstrate:

 3             71.     Numerosity. The members of the proposed class are so numerous and geographically

 4   dispersed that individual joinder of all proposed class members is impracticable. See Fed. R. Civ. P.

 5   23(a)(1). While Plaintiffs believe that that there are millions of members of the proposed class, based

 6   on Facebook’s admission that the data of some 70 million U.S. Facebook users was collected and

 7   transmitted to Cambridge Analytica,68 the precise number of class members is unknown, but may be

 8   ascertained from Facebook’s books and records. Class members may be notified of the pendency of

 9   this action by recognized, court-approved notice dissemination methods, which may include email,

10   Facebook message services, U.S. mail, Internet postings, and/or published notice.

11             72.     Commonality and Predominance. This action involves common questions of law and

12   fact, which predominate over any questions affecting individual class members. See Fed. R. Civ. P.

13   23(a)(2) and (b)(3). These include, without limitation:

14                     a.     Whether Facebook engaged in the conduct alleged in this complaint;

15                     b.     Whether Facebook promulgated agreements and policies that it understood to

16                            apply to Facebook users such as Plaintiffs and other Facebook users known as

17                            Facebook friends;

18                     c.     Whether Facebook promulgated agreements and policies that bound it for
19                            various purposes, including with respect to its duties to its users regarding the

20                            data it regularly collects from them and stores;

21                     d.     Whether Facebook had in place systems, practices, and internal policies meant

22                            to give effect to and enforce its data-privacy agreements and policies;

23                     e.     Whether Facebook adhered to its agreements, policies, and best practices with

24                            regard to the user data that is the subject of this lawsuit;

25                     f.     Whether Facebook knew of Kogan/GSR’s access to, collection of, and

26                            transmittal to third parties of, the user data that is the subject of this lawsuit;

27
         68
28            Schroepfer, supra n.58.

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 1                     g.     Whether Facebook made any effort to halt access to, collection of, and

 2                            transmittal to third parties of, the user data that is the subject of this lawsuit;

 3                     h.     Whether Facebook spends adequately to give effect to and enforce its

 4                            agreements and policies regarding access to, collection of, and transmittal to

 5                            third parties of, the user data that is the subject of this lawsuit;

 6                     i.     Whether Facebook knew about deficiencies in its agreements or policies

 7                            governing user data, and, if so, for how long;

 8                     j.     Whether Facebook knew about deficiencies in the enforcement of its

 9                            agreements and policies regarding access to, collection of, and transmittal to

10                            third parties of, the user data that is the subject of this lawsuit;

11                     k.     Whether Facebook’s conduct, including but not limited to its alleged deceptive

12                            conduct, violates consumer protection statutes or other laws as asserted herein;

13                     l.     Whether Facebook’s conduct violates the Stored Communications Act as

14                            alleged herein;

15                     m.     Whether Plaintiffs and members of the proposed class are entitled to damages,

16                            including statutory and punitive damages, due to Facebook’s conduct as alleged

17                            in this complaint, and if so, in what amounts; and

18                     n.     Whether Plaintiffs and other putative class members are entitled to equitable
19                            relief, including, but not limited to, restitution or injunctive relief as requested

20                            in this complaint.

21            73.      Typicality. Plaintiffs’ claims are typical of the putative class members’ claims because,

22   among other things, all such class members were comparably injured through Facebook’s wrongful

23   conduct as described above. See Fed. R. Civ. P. 23(a)(3).

24            74.      Adequacy. Plaintiffs are adequate proposed class representatives because their interests

25   do not conflict with the interests of the other members of the proposed class they seek to represent;

26   because Plaintiffs have retained counsel competent and experienced in complex class action litigation;

27   and because Plaintiffs intend to prosecute this action vigorously. The interests of the proposed class

28   will be fairly and adequately protected by Plaintiffs and counsel. See Fed. R. Civ. P. 23(a)(4).

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 1             75.     Declaratory and Injunctive Relief. Facebook has acted or refused to act on grounds

 2   generally applicable to Plaintiffs and the other members of the proposed class, thereby making

 3   appropriate final injunctive relief and declaratory relief, as described below, with respect to the

 4   proposed class as a whole. See Fed. R. Civ. P. 23(b)(2).

 5             76.     Superiority. A class action is superior to any other available means for the fair and

 6   efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered in

 7   the management of this class action. The damages or other financial detriment suffered by Plaintiffs

 8   and putative class members are relatively small compared to the burden and expense that would be

 9   required to individually litigate their claims against Facebook, so it would be impracticable for

10   members of the proposed class to individually seek redress for Facebook’s wrongful conduct.

11   Moreover, even if class members could afford individual litigation, the court system could not.

12   Individualized litigation creates a potential for inconsistent or contradictory judgments, and it increases

13   the delay and expense to all parties and the court system. By contrast, the class action device presents

14   far fewer management difficulties and provides the benefits of single adjudication, economy of scale,

15   and comprehensive supervision by a single court. See Fed. R. Civ. P. 23(b)(3).

16                              VII.    APPLICATION OF CALIFORNIA LAW
17             77.     Plaintiffs reallege and incorporate by reference all paragraphs as though fully set forth

18   herein.
19             78.     Facebook’s terms and conditions in and about 2014, and currently, provide for the

20   application of California law to disputes such as this.69

21

22

23

24

25
         69
           Nov. 13, 2015 Statement of Rights and Responsibilities ¶ 16.1 (Disputes), supra n.30 (“The laws
26   of the State of California will govern this Statement, as well as any claim that might arise between you
     and us, without regard to conflict of law provisions.”); Jan. 30, 2015 Statement of Rights and
27   Responsibilities ¶ 15.1 (Disputes), supra n.4 (“The laws of the State of California will govern this
     Statement, as well as any claim that might arise between you and us, without regard to conflict of law
28   provisions.”).

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 1             79.     Additionally, as alleged herein, and on information and belief, all pertinent decisions

 2   and activities took place in, and emanated from, Facebook’s California headquarters,70 further

 3   justifying the application of California law.

 4             80.     Accordingly, California law applies to Plaintiffs’ claims and those of members of the

 5   proposed nationwide class.

 6                          VIII. EQUITABLE TOLLING/CONTINUING VIOLATION
 7             81.     Plaintiffs reallege and incorporate by reference all paragraphs as though fully set forth

 8   herein.

 9             82.     By its own admission, Facebook does not consider the Kogan-GSR-Cambridge

10   Analytica incident to be a data breach;71 therefore, Facebook did not notify Plaintiffs, or, upon

11   information and belief, other putative class members, of Kogan/GSR’s unauthorized and

12   impermissible gathering and transfer of their data in or around 2014. Until news broke so widely based

13   upon Mr. Wylie’s whistleblowing in March 2018, Plaintiffs had no reason to suspect that Facebook

14   was not adhering to or enforcing its agreements and policies with respect to the data it collected from

15   them and stored.         Nor did putative class members have any reasonable suspicion, let alone

16   confirmation, either.

17             83.     Further, based on recent reports, at least some of the putative class’s data is still

18   available for exploitation on the web,72 which points to continuing violations of Facebook’s
19   agreements and policies.

20

21       70
            To the best of Plaintiffs’ knowledge, Facebook’s privacy officials are based in its California
     headquarters, so pertinent agreements, policies, and practices would have emanated from there as well.
22   See, e.g., Nov. 13, 2012 Facebook letter to FTC, available at https://www.ftc.gov/system/files/docum
     ents/foia_requests/1302facebookcompliance.pdf at p. 2 (cover letter that accompanied Facebook’s first
23   compliance report under the FTC consent order issued in In the Matter of Facebook, Inc., FTC Dkt.
     No. C-4365, which letter and report were signed by Facebook’s Associate General Counsel-Privacy
24   and its Product Counsel; their letterhead gave their business address as 1601 Willow Road, Menlo
     Park, California).
25       71
            Grewal, supra n.38 (“The claim that this is a data breach is completely false.”).
         72
26          See, e.g., Kevin Granville, Facebook and Cambridge Analytica: What You Need to Know as
     Fallout Widens, THE NEW YORK TIMES (Mar. 19, 2018), https://www.nytimes.com/2018/03/19/
27   technology/facebook-cambridge-analytica-explained.html (“But the data, or at least copies, may still
     exist. The Times was recently able to view a set of raw data from the profiles Cambridge Analytica
28   obtained.”).

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 1             84.     Accordingly, all applicable statutes of limitation, if any, are tolled or otherwise

 2   inapplicable, such that all claims of Plaintiffs and putative class are timely.

 3                                         IX.     CAUSES OF ACTION
 4                                                    COUNT I
 5                                            BREACH OF CONTRACT
 6             85.     Plaintiffs reallege and incorporate by reference all paragraphs as though fully set forth

 7   herein.

 8             86.     Plaintiffs and members of the proposed class had agreements with Facebook. These

 9   agreements, including Facebook’s Data Use Policy73 and its Statement of Rights and

10   Responsibilities,74 involved a mutual exchange of consideration whereby Plaintiffs and members of

11   the class exchanged personal data for access to Facebook’s social network, but only under the condition

12   that this personal information be protected per the terms of Facebook’s agreements and policies. By

13   way of these agreements and policies, Facebook promised only to share user data pursuant to governing

14   agreements and applicable policies.

15             87.     Plaintiffs used the Facebook social network responsibly, taking care not to violate

16   Facebook’s terms and policies.

17             88.     The failure of Facebook to keep its promises to Plaintiffs and the proposed class and to

18   keep its users’ demonstrably valuable data safe and secure from unauthorized and impermissible access
19   and transfer constitutes a material breach of the agreements between Facebook on the one hand and

20   Plaintiffs and the proposed class on the other.

21             89.     As a result of the aforesaid breaches of Facebook’s agreements with Plaintiffs and

22   members of the proposed class, those Facebook users have been harmed and have suffered damages,

23   both by way of dissemination of their personal information and by losing the sales value of that

24   information, in amounts to be proven at trial. Also, at a minimum, Plaintiffs have suffered nominal

25   damages, which are recoverable per CAL. CIV. CODE § 3360.

26

27       73
              Nov. 15, 2013 Data Use Policy, supra n.13.
         74
28            Nov. 13, 2015 Statement of Rights and Responsibilities, supra n.30.

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 1                                                   COUNT II
 2                                 BREACH OF THE IMPLIED COVENENT OF
                                      GOOD FAITH AND FAIR DEALING
 3
               90.     Plaintiffs reallege and incorporate by reference all paragraphs as though fully set forth
 4
     herein.
 5
               91.     Plaintiffs and members of the proposed class were required by Facebook to provide
 6
     data in order to use its social network. They shared certain other data conditionally—i.e., only pursuant
 7
     to, and in light of, the protections promised by Facebook’s contractual terms and policies governing
 8
     the provision, access to, storage, and transfer of such data.
 9
               92.     Plaintiffs used the Facebook social network responsibly, taking care not to violate
10
     Facebook’s terms and policies.
11
               93.     Implicit in the agreements between Facebook and Plaintiffs and members of the
12
     proposed class was the obligation that Facebook would maintain the putative class’s demonstrably
13
     valuable information confidentially and securely, per its applicable agreements and policies.75 Per
14
     these agreements and policies, its users had the right to expect that Facebook would gather, retain,
15
     allow access to, and transfer this data only for certain, enumerated purposes.
16
               94.     “Every contract imposes upon each party a duty of good faith and fair dealing in its
17
     performance and its enforcement.” RESTATEMENT (SECOND) OF CONTRACTS § 205 (1981).
18
               95.     Such a duty is read into contracts and functions as a supplement to the express
19
     contractual covenants, in order to prevent a transgressing party from engaging in conduct which (while
20
     not technically transgressing the express covenants) frustrates the other party’s rights to the benefit of
21
     the contract.76 Thus, any claim on the part of Facebook that technically it was permitted to allow the
22
     collection and transmittal of Plaintiffs’ and the putative class’s data, must be read in the context of,
23
     and give way to, those users’ rights to the benefit of the contract, including the terms strictly delimiting
24
     such activity.
25

26
         75
27        See, e.g., supra nn.30-31.
         76
          See, e.g., Thrifty Payless, Inc. v. The Americana at Brand, LLC, 218 Cal. App. 4th 1230, 1244
28   (2013) (citations omitted).

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 1             96.     The duty to perform contractual obligations in good faith applies to Facebook’s

 2   agreements governing data collection, use, and protection, including its Data Use Policy77 and

 3   Statement of Rights and Responsibilities.78 In order not to frustrate the reasonable expectations of

 4   Plaintiffs and the putative class under these terms and the contract generally, Facebook was bound not

 5   to allow the access, collection, and transfer of enormous sums of data by Kogan/GSR. But by failing

 6   to act reasonably in securing the data of Plaintiffs and the proposed class as alleged herein, Facebook

 7   breached the covenant of good faith and fair dealing.

 8             97.     As a result of the aforesaid breaches of the implied covenant of good faith and fair

 9   dealing, Plaintiffs and the proposed class have been harmed and have suffered damages, both by way

10   of dissemination of their personal information and by losing the sales value of that information, in

11   amounts to be proven at trial. Also, at a minimum, Plaintiffs have suffered nominal damages, which

12   are recoverable per CAL. CIV. CODE § 3360.79

13                                                   COUNT III
14                      VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
                               (CAL. BUS. & PROF. CODE § 17200, ET SEQ.)
15
               98.     Plaintiffs reallege and incorporate by reference all paragraphs as though fully set forth
16
     herein.
17
               99.     Plaintiffs bring this count on behalf of themselves and the proposed class.
18
               100.    California’s Unfair Competition Law (“UCL”), CAL. BUS. & PROF. CODE § 17200, et
19
     seq., proscribes acts of unfair competition, including “any unlawful, unfair or fraudulent business act
20
     or practice and unfair, deceptive, untrue or misleading advertising.”
21
               101.    Plaintiffs and the proposed class suffered economic injury by way of losing the benefit
22
     of their bargains with Facebook. They shared their valuable personal information with Facebook under
23
     only under certain terms and conditions, including the promise that Facebook would only share this
24
     information under certain conditions. In other words, they shared their data in exchange for access to
25

26       77
            See, e.g., n.30.
         78
27          See, e.g., n.31.
         79
            See, e.g., Thrifty Payless, 218 Cal. App. 4th at 1244 (“A breach of the implied covenant of good
28   faith is a breach of the contract . . . .”) (citation omitted).

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 1   the Facebook social network as well as the promised privacy protections. Yet Facebook denied them

 2   the benefit of their bargain by failing to deliver on these promised privacy protections and instead

 3   sharing their data with valuable app developers such as GSR, which manifestly had no proper reason

 4   for accessing and collecting all the data at issue in connection with its “thisisyourdigitallife” app.

 5              102.    By way of expert testimony, Plaintiffs will present evidence at trial of the value of the

 6   property that they and other putative class members lost thereby—i.e., their interest in keeping control

 7   over their private information as well as the value of their private information itself, the latter of which

 8   is illustrated in part by the money that Kogan/GSR and SCL Elections paid for it.

 9              103.    As alleged herein,80 Facebook’s choices, policies, conduct, and actions were undertaken

10   or performed in, and therefore emanated from, California.

11   A.         Unfair prong
12              104.    Facebook’s conduct violates the unfair prong of the UCL in at least the following ways:

13                      a.      By breaching consumer contracts systematically, as alleged herein;

14                      b.      By promulgating agreements and policies pertaining to user data, in order to

15                              induce the sharing with it of such data, that it evidently never meant to enforce,

16                              and that it did not enforce;

17                      c.      By making it easy for app developers to gather far more user data than they

18                              needed for their apps, and by making no real effort to protect this data from
19                              transfer to third parties, with no justification; and

20                      d.      By choosing an unfair, and therefore unlawful, course of action when other,

21                              lawful courses were available. For example, as alleged herein, it detected

22                              Kogan/GSR’s downloading of massive amounts of user data, but it did nothing

23                              to stop it.

24              105.    Facebook also behaved as alleged in order to gain unfair commercial advantage, even

25   if it meant disregarding the rights and expectations of its users. Facebook’s actions reveal that it

26   wanted to deal with the Kogan-GSR-Cambridge Analytica imbroglio as quietly as possible, so as not

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          80
28             See, e.g., supra ¶¶ 70.

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 1   to imperil the size of its user base or its reputation. It not only withheld critical information from

 2   Plaintiffs and the putative class, but also from its competitors and the marketplace at large, all to its

 3   unfair competitive advantage.

 4              106.   Facebook’s behavior as alleged herein, which emanated from its headquarters in

 5   California, caused harm to Plaintiffs and the putative class as alleged in this complaint. Had Plaintiffs

 6   and putative class members known that Facebook would engage in this unfair behavior, they would

 7   not have shared their personal data with it, or they would have demanded payment for it.

 8              107.   Accordingly, Plaintiffs and putative class members have suffered injury in fact,

 9   including lost money or property, as a result of Facebook’s unfair behavior.

10              108.   Plaintiffs and the putative class seek to enjoin further unfair acts or practices by

11   Facebook under CAL. BUS. & PROF. CODE § 17200.

12   B.         Fraudulent prong
13              109.   Additionally, as illustrated by the events described herein, Facebook procured the data

14   of Plaintiffs and members of the proposed class by way of false and fraudulent statements and

15   omissions as to its protection of such data, including via statements and promises in its terms and

16   policies, as referenced herein.81 Though Facebook had the means to protect its users’ data and to give

17   effect to its agreements and policies with regard to it, it did not employ these means, and certainly not

18   effectively. Facebook knew of this when it collected and stored this data; nonetheless, it gave false
19   impressions of pertinent facts and its intentions to Plaintiffs and members of the proposed class.

20              110.   Accordingly, Plaintiffs and putative class members have suffered injury in fact,

21   including lost money or property, as a result of Facebook’s fraudulent behavior.

22              111.   Plaintiffs and the putative class also seek to enjoin further fraudulent acts or practices

23   by Facebook under CAL. BUS. & PROF. CODE § 17200.

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          81
28             See Sec. V.C, supra.

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 1   C.        Unlawful prong
 2             112.    As alleged in this complaint, Facebook published and promulgated privacy terms and

 3   policies82 at all relevant times on which Plaintiffs and members of the putative class conditioned the

 4   collection, storage, and sharing of their data. Facebook, however, has violated these policies either:

 5   (a) knowingly and willfully; or (b) negligently and materially; or (c) both. Accordingly, Facebook has

 6   violated CAL. BUS. & PROF. CODE § 22576, which prohibits an operator of a commercial web site or

 7   online service from failing to comply with its own privacy policies.

 8             113.    Also, by way of the systematic and widespread breaches of contract as alleged herein,

 9   including those pertaining directly to Plaintiffs and members of the putative class, Facebook has

10   violated the unlawful prong of the UCL.

11             114.    Accordingly, Plaintiffs and putative class members have suffered injury in fact,

12   including lost money or property, as a result of Facebook’s fraudulent behavior.

13             115.    Plaintiffs and the putative class seek to enjoin further fraudulent acts or practices by

14   Facebook under CAL. BUS. & PROF. CODE § 17200.

15   D.        UCL summary
16             116.    In sum, with respect to Facebook’s violations of the UCL under all three of its prongs,

17   Plaintiffs and the putative class ask that this Court enter such orders or judgments as may be necessary

18   to enjoin Facebook from continuing its unfair and fraudulent practices as described herein, and to
19   award and restore to Plaintiffs and members of the putative class the value of all property, or money,

20   they lost by way of Facebook’s unfair, fraudulent, or unlawful competition and activities, including by

21   way of restitution and/or restitutionary disgorgement as provided by CAL. BUS. & PROF. CODE § 17203

22   and CAL. CIV. CODE § 3345 (regarding claims brought for the benefit of senior citizens or disabled

23   persons83), among all other appropriate relief.

24

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          82
27         See, e.g., supra nn.30-31.
          83
           Given the millions of Facebook users affected, it is reasonable to believe, and therefore it is
28   alleged, that some members of the putative class were and are senior citizens or disabled persons.

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 1                                                    COUNT IV
 2                                  QUANTUM MERUIT TO RECOVER SUMS
                                       HAD BY UNJUST ENRICHMENT
 3
               117.    Plaintiffs reallege and incorporate by reference all paragraphs as though fully set forth
 4
     herein.
 5
               118.    Because no adequate legal remedy is available under any applicable contract, Plaintiffs
 6
     bring this count in quasi contract on behalf of themselves and their fellow putative class members in
 7
     order to pursue restitution based on Facebook’s unjust enrichment, including by way of Facebook’s
 8
     retention of profits that should have been expended to protect the data of Plaintiffs and the putative
 9
     class, per its published privacy agreements and policies.84
10
               119.    As alleged herein, Facebook has unjustly received and retained monetary benefits from
11
     Plaintiffs and the proposed class—i.e., by way of its use of, and profiting from, their data under unjust
12
     circumstances, such that inequity has resulted.
13
               120.    By engaging in the conduct described in this complaint, Facebook knowingly obtained
14
     benefits from Plaintiffs and the proposed class as alleged herein under circumstances such that it would
15
     be inequitable and unjust for Facebook to retain them.
16
               121.    More specifically, by engaging in the acts and failures to act described in this complaint,
17
     Facebook has been knowingly enriched by the savings in costs that should have been reasonably
18
     expended to protect the data of Plaintiffs and the proposed class. Facebook was on notice that
19
     gathering and transmittal of user data could happen, including by way of previous occurrences and
20
     claims brought against it by the FTC, yet it failed to take reasonable steps to pay for the level of security
21
     required to have prevented such unauthorized access, gathering, and transmittal to third parties.
22

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         84
26          See, e.g., RESTATEMENT (THIRD) OF RESTITUTION AND UNJUST ENRICHMENT § 39(1) (2011)
     (supporting claims under the opportunistic breach theory of restitution, which provides a claim for
27   relief when a deliberate breach of contract results in profit to the defaulting promisor and the available
     damage remedy affords inadequate protection to the promisee’s contractual entitlement, measured by
28   the profit realized by the defaulting promisor).

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 1             122.    Also, Facebook has been enriched unjustly by the use of Plaintiffs and the proposed

 2   class’s data for its advertising business, and has profited greatly as a result, even though it did not

 3   protect this data as it had promised.

 4             123.    By engaging in the conduct described in this complaint, Facebook has knowingly

 5   obtained benefits from or by way of Plaintiffs and the proposed class, including by way of the use of

 6   their personal information in the course of its business, including its lucrative advertising business,

 7   under circumstances such that it would be inequitable and unjust for it to retain them.

 8             124.    Thus, Facebook will be unjustly enriched if it is permitted to retain the benefits derived

 9   from the unauthorized and impermissible gathering and sharing of Plaintiffs and the proposed class’s

10   data.

11             125.    Plaintiffs and each member of the proposed class are therefore entitled to a

12   restitutionary award in an amount to be determined at trial, or the imposition of a constructive trust

13   upon the monies derived by Facebook by means of the above-described actions, or both as the

14   circumstances may merit to provide complete relief to Plaintiffs and the proposed class, whether the

15   sums of monies are those: (a) that it should have devoted to complying with its agreements and policies

16   as they pertain to the user data that is the subject of this lawsuit; or (b) the money it has collected from

17   advertisers and others that corresponds to the user data that is the subject of this lawsuit; or (c) other

18   sums as it may be just and equitable to return to them.
19                                                    COUNT V
20                          VIOLATION OF THE STORED COMMUNICATIONS ACT,
                                         18 U.S.C. § 2701, ET SEQ.
21
               126.    Plaintiffs reallege and incorporate by reference all paragraphs as though fully set forth
22
     herein.
23
               127.    Plaintiffs on their own behalf, and on behalf of members of the proposed class, allege
24
     that Facebook has violated the Stored Communications Act, see 18 U.S.C. § 2702, including by way
25
     of divulging without authorization their communications while in electronic storage.
26
               128.    The Stored Communications Act (SCA) prohibits a person from intentionally accessing
27
     without (or in excess of) authorization a facility through which an electronic communications service
28

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 1   is provided and thereby obtaining an electronic communication while it is in “electronic storage.” 18

 2   U.S.C. §§ 2701(a) and 2702(a).

 3            129.     Section 2701(a)(1) of the SCA authorizes a private right of action against any person

 4   who “intentionally accesses without authorization a facility through which an electronic

 5   communication service is provided . . . and thereby obtains . . . access to wire or electronic

 6   communication while it is in electronic storage in such system . . . .”

 7            130.     Section 2701(a)(2) of the SCA authorizes a private right of action against any person

 8   who “intentionally exceeds an authorization to access [a facility through which an electronic

 9   communication service is provided] . . . and thereby obtains . . . access to wire or electronic

10   communication while it is in electronic storage in such system . . . .”

11            131.     Section 2702(a) of the SCA provides:

12                     (1)    a person or entity providing an electronic communication service to the public

13                     shall not knowingly divulge to any person or entity the contents of a communication

14                     while in electronic storage by that service; and

15                     (2)    a person or entity providing remote computing service to the public shall not

16                     knowingly divulge to any person or entity the contents of any communication which is

17                     carried or maintained on that service;

18                            (A)     on behalf of, and received by means of electronic transmission from (or
19                            created by means of computer processing of communications received by means

20                            of electronic transmission from), a subscriber or customer of such service;

21                            (B)     solely for the purpose of providing storage or computer processing

22                            services to such subscriber or customer, if the provider is not authorized to

23                            access the contents of any such communications for purposes of providing any

24                            services other than storage or computer processing.

25            132.     Section 2707(b) of the SCA provides that Plaintiffs and class members are entitled to:

26                     (1)    such preliminary and other equitable or declaratory relief as may be appropriate;

27                     (2)    damages under subsection (c); and

28                     (3)    a reasonable attorneys’ fee and other litigation costs reasonably incurred.

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 1            133.     Section 2707(c) of the SCA provides that:

 2                     . . . a court may assess damages suffered by the Plaintiffs and any profits
                       made by the violators as a result of the violation, but in no case shall a
 3                     person entitled to recover receive less than the sum of $1,000. If the
                       violation is willful or intentional, the court may assess punitive damages. In
 4
                       the case of a successful action to enforce liability under this section, the
 5                     court may assess the costs of the action, together with reasonable attorney
                       fees determined by the court.
 6
              134.     The SCA defines “electronic storage” as “any temporary, intermediate storage of a wire
 7
     or electronic communication incidental to the electronic transmission thereof; and any storage of such
 8
     communication by an electronic communication service for purposes of backup protection of such
 9
     communication.” 18 U.S.C. § 2510(17). When Facebook users such as Plaintiffs or other putative
10
     class members post messages to Facebook pages or walls, or other Facebook facilities, those messages
11
     then are stored on Facebook servers and are thereby given backup protection by Facebook. Facebook,
12
     pursuant to the allegations herein, is an electronic communication service, a remote communication
13
     service (or a remote computing service), or both.
14
              135.     Facebook is considered a “person” within the meaning of the SCA. 18 U.S.C. § 2510(6);
15
     it is also an entity within the meaning of the SCA.
16
              136.     Facebook provides “electronic communication service[s]” within the meaning of the
17
     SCA. 18 U.S.C. § 2510(15).
18
              137.     Plaintiffs’ and proposed class members’ use of Facebook to convey and store personal
19
     information and transmission of that personal information to and from Plaintiffs’ Facebook account is
20
     considered “electronic communications” within the meaning of the Act. 18 U.S.C. § 2510(12).
21
              138.     The servers that Facebook uses to provide its electronic communications services to
22
     Plaintiffs and proposed class members are a “facility” within the meaning of the SCA.
23
              139.     Defendant intentionally accessed without authorization or, alternatively, intentionally
24
     exceeded authorization to access, Plaintiffs’ and proposed class members’ stored electronic
25
     communications, which contained highly sensitive personal information, including for purposes of
26
     divulging the same to others, either without authorization or in manners that exceeded authorization.
27

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 1            140.     Facebook knowingly divulged Plaintiffs’ and proposed class members’ stored

 2   electronic communications to SCL Elections Limited and Cambridge Analytica, which contained

 3   highly sensitive personal information.

 4            141.     As a result of the Defendant’s violations of the SCA, Plaintiffs and proposed class

 5   members have suffered injury, which includes, but is not limited to, Facebook permitting others as

 6   alleged herein to intentionally access Plaintiffs’ and proposed class members’ stored electronic

 7   communications without (or in excess of) authorization and by Facebook’s divulging to SCL Elections

 8   and Cambridge Analytica the contents of Plaintiffs’ and proposed class members’ stored electronic

 9   communications, which contained sensitive personal information.

10            142.     Accordingly, Plaintiffs and class members are entitled to statutory damages, actual

11   damages, reasonable attorney’s fees and litigation costs, as well as declaratory and injunctive relief.

12                                       X.      REQUEST FOR RELIEF
13            WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their favor and

14   that of the proposed class, and against Defendant, as follows:

15            A.       Certification of the proposed nationwide class as requested, including appointment of

16   Plaintiffs’ counsel as class counsel;

17            B.       Damages and equitable remedies, including statutory damages, punitive damages,

18   restitution, penalties, and disgorgement, together with all other damages or equitable redress available
19   pursuant to or related to the allegations herein, in amounts to be determined at trial;

20            C.       An order requiring Facebook to pay both pre- and post-judgment interest on any

21   amounts awarded;

22            D.       An award of costs, expenses, and attorneys’ fees;

23            E.       Orders temporarily and then permanently enjoining Facebook from continuing the

24   unfair and deceptive business practices alleged in this complaint; and

25            F.       Such other or further relief as may be appropriate.

26                                    XI.     DEMAND FOR JURY TRIAL
27            Plaintiffs hereby demand a jury trial for all claims so triable.

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 1   DATED: September 21, 2018           Respectfully submitted,

 2                                       By: /s/ Shana E. Scarlett
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 6
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                                                                                 CIVIL COVER SHEET
JS-CAND 44 (Rev. 06/17)

The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
  Scott McDonnell, Tabielle Holsinger, and James Tronka                                                     Facebook, Inc.
   (b) County of Residence of First Listed Plaintiff              New Haven County (Conn.)                     County of Residence of First Listed Defendant
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)
 Shana E. Scarlett, Hagens Berman Sobol Shapiro LLP, 715 Hearst
 Ave., Ste. 202, Berkeley, CA 94710, (510) 725-3000
II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                      and One Box for Defendant)
                                                                                                                                          PTF       DEF                                      PTF         DEF
      1    U.S. Government Plaintiff        3    Federal Question                                    Citizen of This State                  1        1      Incorporated or Principal Place      4         4
                                                 (U.S. Government Not a Party)
                                                                                                                                                            of Business In This State
                                                                                                     Citizen of Another State                2        2     Incorporated and Principal Place     5          5
      2    U.S. Government Defendant        4     Diversity                                                                                                 of Business In Another State
                                                (Indicate Citizenship of Parties in Item III)
                                                                                                     Citizen or Subject of a                 3        3     Foreign Nation                       6          6
                                                                                                     Foreign Country

IV.          NATURE OF SUIT                 (Place an “X” in One Box Only)
          CONTRACT                                                    TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                     PERSONAL INJURY                   625 Drug Related Seizure of         422 Appeal 28 USC § 158             375 False Claims Act
   120 Marine                                                                                                      Property 21 USC § 881           423 Withdrawal 28 USC               376 Qui Tam (31 USC
                                       310 Airplane                        365 Personal Injury – Product
   130 Miller Act                                                              Liability                       690 Other                               § 157                              § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                               367 Health Care/                              LABOR                       PROPERTY RIGHTS                   400 State Reapportionment
                                       320 Assault, Libel & Slander
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                                       345 Marine Product Liability                                            740 Railway Labor Act                   Drug Application                460 Deportation
   152 Recovery of Defaulted                                               PERSONAL PROPERTY                                                                                           470 Racketeer Influenced &
                                       350 Motor Vehicle                                                       751 Family and Medical              840 Trademark
       Student Loans (Excludes                                             370 Other Fraud                                                                                                Corrupt Organizations
                                       355 Motor Vehicle Product                                                   Leave Act
       Veterans)                                                           371 Truth in Lending                                                      SOCIAL SECURITY                   480 Consumer Credit
                                           Liability                                                           790 Other Labor Litigation
   153 Recovery of                                                         380 Other Personal Property                                             861 HIA (1395ff)
                                       360 Other Personal Injury                                               791 Employee Retirement                                                 490 Cable/Sat TV
       Overpayment                                                             Damage                              Income Security Act             862 Black Lung (923)                850 Securities/Commodities/
    of Veteran’s Benefits              362 Personal Injury -Medical
                                           Malpractice                     385 Property Damage Product                                             863 DIWC/DIWW (405(g))                 Exchange
   160 Stockholders’ Suits                                                     Liability                             IMMIGRATION
                                                                                                                                                   864 SSID Title XVI                  890 Other Statutory Actions
   190 Other Contract                                                                                          462 Naturalization
                                             CIVIL RIGHTS                  PRISONER PETITIONS                                                      865 RSI (405(g))                    891 Agricultural Acts
   195 Contract Product Liability                                                                                  Application
                                       440 Other Civil Rights                 HABEAS CORPUS                                                         FEDERAL TAX SUITS                  893 Environmental Matters
   196 Franchise                                                                                               465 Other Immigration
                                       441 Voting                          463 Alien Detainee                      Actions                                                             895 Freedom of Information
                                                                                                                                                   870 Taxes (U.S. Plaintiff or
          REAL PROPERTY                442 Employment                                                                                                  Defendant)
                                                                                                                                                                                          Act
                                                                           510 Motions to Vacate
   210 Land Condemnation               443 Housing/                            Sentence                                                                                                896 Arbitration
                                                                                                                                                   871 IRS–Third Party 26 USC
   220 Foreclosure                         Accommodations                  530 General                                                                 § 7609                          899 Administrative Procedure
                                       445 Amer. w/Disabilities–                                                                                                                          Act/Review or Appeal of
   230 Rent Lease & Ejectment                                              535 Death Penalty
                                           Employment                                                                                                                                     Agency Decision
   240 Torts to Land                                                                OTHER                                                                                              950 Constitutionality of State
   245 Tort Product Liability          446 Amer. w/Disabilities–Other
                                                                           540 Mandamus & Other                                                                                           Statutes
   290 All Other Real Property         448 Education
                                                                           550 Civil Rights
                                                                           555 Prison Condition
                                                                           560 Civil Detainee–
                                                                               Conditions of
                                                                               Confinement

V.           ORIGIN (Place an “X” in One Box Only)
   1      Original                2    Removed from               3     Remanded from            4   Reinstated or           5 Transferred from              6   Multidistrict           8 Multidistrict
          Proceeding                   State Court                      Appellate Court              Reopened                  Another District (specify)        Litigation–Transfer       Litigation–Direct File


VI.          CAUSE OF           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                 28 U.S.C. § 1331
             ACTION
                                Brief description of cause:
                                 Class action pursuant to Class Action Fairness Act of 2005
VII.         REQUESTED IN               ✔   CHECK IF THIS IS A CLASS ACTION                          DEMAND $ 5,000,000.00                          CHECK YES only if demanded in complaint:
             COMPLAINT:                     UNDER RULE 23, Fed. R. Civ. P.                                                                          JURY DEMAND:             Yes       No

VIII. RELATED CASE(S),
      IF ANY (See instructions):
                                                          JUDGE       Vince Chhabria                                  DOCKET NUMBER              3:18-md-02843-VC

IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                           SAN JOSE                        EUREKA-MCKINLEYVILLE


DATE 09/21/2018                                           SIGNATURE OF ATTORNEY OF RECORD                                                 s/ Shana E. Scarlett
